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                                    UNITED STATES DISTRICT COURT
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                                           DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                 )
11                                             )                 Case No. 2:17-cr-0077-JCM-NJK
                             Plaintiff(s),     )
12                                             )                 ORDER
     v.                                        )
13                                             )
     JOHN AMARALABORDE, et al.,                )
14                                             )
                             Defendant(s).     )
15   __________________________________________)
16          Pending before the Court is an order to show cause why the stipulated protective order with respect
17   to Defendant Faris should not be vacated. Docket No. 33. The response thereto also seeks reconsideration
18   of the Court’s denial of the stipulated protective order with respect to Defendant Amaralaborde. See
19   Docket No. 34 at 7; see also Docket No. 32 (order denying without prejudice stipulated protective order).
20   The Court hereby SETS a hearing for both the order to show cause and the request for reconsideration for
21   9:00 a.m. on May 9, 2017, in Courtroom 3D.
22          IT IS SO ORDERED
23          Dated: May 4, 2017
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                                                  ________________________________________
25                                                NANCY J. KOPPE
                                                  United States Magistrate Judge
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